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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RANDY R. LIEBICH,                            )
                                             )
                      Plaintiff,             )
                                             )
        vs.                                  )      Case No. 19-cv-242
                                             )
ILLINOIS DEPARTMENT OF                       )      Hon. Judge Thomas M. Durkin
CORRECTIONS, et al.,                         )      Hon. Magistrate Judge Sunil R. Harjani
                                             )
                      Defendants.            )

                        NOTICE OF DEFENDANTS’ UNOPPOSED
                         MOTION FOR EXTENSION OF TIME

        PLEASE TAKE NOTICE that on Monday, April 8, 2019, at 9:00 A.M., or as soon

thereafter as counsel may be heard, I shall appear before the Honorable Thomas M. Durkin, or

whomever may be sitting in his stead, in Courtroom 1441 of the United States District Court,

Northern District of Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois, and

shall then and there present Defendants’ Unopposed Motion for Extension of Time.


                                                    Respectfully submitted,

LISA MADIGAN
Attorney General of Illinois                        By:     /s/ Alan Williams
                                                            Alan Williams, #6321732
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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 25, 2019, the foregoing document, Notice of Defendants’

Unopposed Motion for Extension of Time, was electronically filed with the Clerk of the Court

using the CM/ECF system. Parties of record may obtain a copy through the CM/ECF system.


                                                  Respectfully submitted,

                                                  /s/ Alan Williams
                                                  Alan Williams




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